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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


 MICHAEL SIZEMORE, et al., on behalf of
 themselves and all others similarly situated,
                                                              CASE NO. 1:23-cv-24481
        Plaintiffs,
 v.

 CRISTIANO RONALDO,

        Defendant.
                                                     /

  PLAINTIFFS’ STATUS REPORT REGARDING SERVICE UPON FOREIGN DEFENDANT

        Plaintiffs, in accordance with the Court’s January 10, 2024 order, (ECF No. 5), provide the
 following status update on service of process upon foreign Defendant, Cristiano Ronaldo:
        1.      Cristiano Ronaldo, the world-renowned soccer player who captains the Saudi Pro
 League club Al Nassr and Portugal’s National Football Team, was most recently known to reside
 at the Four Seasons Hotel Riyadh At Kingdom Center in Saudi Arabia. See ECF No. 12-1 (“Kaye
 Decl.”) ¶ 3 (citing ECF No. 1-2)). However, Ronaldo reportedly owns homes in Madeira, Madrid,
 Marbella, La Finca, Lisbon, and Torino. (https://firstsportz.com/football-where-is-cristiano-
 ronaldo-living-in-saudi-arabia/, Accessed December 4, 2023). Id. Thus, Ronaldo’s address is
 currently unknown, though it is clear he does not reside within the United States. Id., ¶ 4.
        2.      Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiffs today filed a motion,
 (ECF No. 12), requesting an Order authorizing Plaintiffs to serve Defendant Ronaldo pursuant to
 a “Service Plan” discussed therein, namely, service via Twitter, publication on a service website
 Plaintiffs’ counsel created (located at https://moskowitz-law.com/binance-unregistered-securities-
 class-action), and email to Ronaldo’s current counsel representing him in other federal litigation
 currently pending in the District of Nevada and the Ninth Circuit Court of Appeals. See, e.g., Id.
        3.      Should the Court grant Plaintiffs’ pending motion to serve Ronaldo in accordance
 with the Service Plan set forth therein, Plaintiffs can effect service of process on Ronaldo
 immediately upon entry of the Order authorizing service through those means.
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        4.     Otherwise, Plaintiffs are continuing their investigation into the current whereabouts
 of Defendant Ronaldo in order to effect service of process on him under any means authorized by
 the Federal Rules of Civil Procedure and applicable law.
        Dated: January 16, 2024                              Respectfully submitted,

  By: /s/ Adam Moskowitz                             By: /s/ Stephen Neal Zack
  Adam M. Moskowitz                                  Stephen Neal Zack
  Florida Bar No. 984280                             Florida Bar No. 145215
  Joseph M. Kaye                                     Tyler Ulrich
  Florida Bar No. 117520                             Florida Bar No. 94705
  Barbara C. Lewis                                   BOIES SCHILLER FLEXNER LLP
  Florida Bar No. 118114                             100 SE 2nd St., Suite 2800
  THE MOSKOWITZ LAW FIRM, PLLC                       Miami, FL 33131
  2 Alhambra Plaza, Suite 601                        Office: 305-539-8400
  Coral Gables, FL 33134                             szack@bsfllp.com
  Telephone: (305) 740-1423                          tulrich@bsfllp.com
  adam@moskowitz-law.com
  joseph@moskowitz-law.com                           Co-Counsel for Plaintiffs and the Class
  barbara@moskowitz-law.com
  service@moskowitz-law.com

  Co-Counsel for Plaintiffs and the Class

  By: /s/ Jose M. Ferrer                             By: /s/ Kerry J. Miller
  José M. Ferrer                                     Kerry J. Miller
  Florida Bar No. 173746                             (pro hac vice)
  Desiree Fernandez                                  Molly L. Wells
  Florida Bar No. 119518                             (pro hac vice)
  MARK MIGDAL & HAYDEN                               C. Hogan Paschal
  Brickell City Tower                                (pro hac vice)
  80 SW 8th Street, Suite 1999                       FISHMAN HAYGOOD L.L.P.
  Miami, FL 33130                                    201 St. Charles Avenue, 46th Floor
  jose@markmigdal.com                                New Orleans, Louisiana 70170-4600
  desiree@markmigdal.com                             (504) 586-5252; (504) 586-5250 fax
  eservice@markmigdal.com                            kmiller@fishmanhaygood.com
                                                     mwells@fishmanhaygood.com
  Co-Counsel for Plaintiffs and the Class            hpaschal@fishmanhaygood.com

                                                     Co-Counsel for Plaintiffs and the Class




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                                    CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the forgoing was filed on January 16, 2024,
 via the Court’s CM/ECF system, which will send notification of such filing to all attorneys of
 record.
                                                                 By: /s/ Adam M. Moskowitz__
                                                                    ADAM M. MOSKOWITZ




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